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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

RITA HENDERSON, JAMES HENDERSON,             *           CIVIL ACTION NO. _____________
AND CHESTER HENDERSON                        *
                                             *
Plaintiffs                                   *
                                             *
                                             *
VERSUS                                       *           JUDGE ________________________
                                             *
NEXION HEALTH AT MINDEN, INC. D/B/A          *           MAGISTRATE _________________
MEADOWVIEW HEALTH AND                        *
REHABILITATION CENTER                        *
                                             *
                                             *
Defendant                                    *           JURY DEMAND
******************************************** *


                               NOTICE OF REMOVAL

TO:    United States District Court
       Western District of Louisiana

       Nexion Health at Minden, Inc. d/b/a Meadowview Health and Rehabilitation Center

(“Meadowview” or “Defendant”), defendant in the above-captioned state court suit filed by Rita

Henderson, James Henderson, and Chester Henderson (“Plaintiffs”) and now pending in the

Twenty-Sixth Judicial District Court for the Parish of Webster, State of Louisiana, bearing Civil

Action No. 73,125 files this Notice of Removal of this suit from the Twenty-Sixth Judicial

District Court for the Parish of Webster, State of Louisiana, to the United States District Court

for the Western District of Louisiana.

                                               I.

       Plaintiffs filed this lawsuit in the Twenty-Sixth Judicial District Court for the Parish of

Webster, State of Louisiana, on or about May 29, 2013.




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                                                II.

       Meadowview’s first notice of this lawsuit occurred on or about June 13, 2013 when

Meadowview was served with Plaintiffs’ lawsuit through CT Corporation System, its agent for

service of process.

                                                III.

       The action is one of a civil nature which alleges the liability of Meadowview to Plaintiffs.

Plaintiffs specifically allege that Meadowview was negligent in its care and treatment of Webster

Henderson, for which Plaintiffs contend they are entitled to damages. Plaintiffs’ petition is

attached hereto as Exhibit “A” and is made a part of this pleading by reference.

                                                IV.

       The matter in dispute reasonably appears to seek damages in excess of seventy-five

thousand dollars ($75,000.00), exclusive of interest and costs, as there are three claimants in this

case who contend that they are entitled to damages for the alleged injuries sustained by Webster

Henderson. See Exhibit “A.” The three claimants further contend that they are entitled to

damages for Webster Henderson’s pain and suffering, disability, mental anguish, loss of

enjoyment of life, and medical expenses. See Exhibit “A.”

                                                V.

       At and since the time of filing this suit, plaintiffs, Rita Henderson, James Henderson, and

Chester Henderson have been residents of the state of California. See Exhibit “A.”

                                                VI.

       Nexion Health at Minden, Inc. d/b/a Meadowview Health and Rehabilitation Center is a

Delaware corporation with its principal place of business in Maryland.




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                                               VII.

       The requisite diversity between Plaintiffs and Defendant, as required by 28 U.S.C. 1332,

has been satisfied. This matter is removable pursuant to 28 U.S.C. 1332 and 28 U.S.C. 1441 (c).

       WHEREFORE, Defendant, Nexion Health at Minden, Inc. d/b/a Meadowview Health

and Rehabilitation Center, gives notice of removal of the above entitled cause from the state

court to this Court.



                                             Respectfully Submitted,


                                             /s/ Cara E. Hall__________________
                                             DEIRDRE C. McGLINCHEY, T.A. (24167)
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                                             New Orleans, Louisiana 70130
                                             Telephone (504) 586-1200
                                             Facsimile (504) 596-2800
                                             ATTORNEYS FOR DEFENDANT,
                                             NEXION HEALTH AT MINDEN, INC.
                                             D/B/A MEADOWVIEW HEALTH AND
                                             REHABILITATION CENTER


                             CERTIFICATE OF SERVICE
       I hereby certify that a copy of the above and foregoing has been served upon:

                       William D. Hall, Esq.
                       Attorney at Law
                       828 Shreveport Barksdale Highway
                       Shreveport, Louisiana 71105
                       ATTORNEY FOR PLAINTIFF

by facsimile, electronic mail, or by depositing a copy of same in the United States mail,
postage prepaid and properly addressed this 28TH day of June, 2013.


                                             /s/ Cara E. Hall_______


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